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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


STATES OF AMERICA,
       Plaintiff


v.                                                   Case No. 1:23-cr-00071-RDM


BRYAN SHAWN SMITH
       Defendant.


     DEFENDANT’S MOTION TO DISMISS SUPERSEDING COUNT TWO


       Earlier today (April 11, 2024), the United States filed a “Notice Regarding
Count Two of the Superseding Indictment” (ECF #58). The government’s filing
states that:


       “The government provides notice that, at trial, it will not proceed
       under a theory that the defendant inflicted bodily injury on officers, in
       violation of Title 18, United States Code, Sections 111(a)(1), 111(b),
       and 2, as charged in Count Two of the Superseding Indictment.
       Instead, the government will pursue the lesser offense, which is . . .
       that the defendant assaulted, resisted, opposed, intimidated, or
       interfered with an officer, and that the defendant’s conduct involved
       physical contact or the intent to commit another felony, in violation of
       Title 18, United States Code, Section 111(a)(1) and 2.”
       (ECF #58, p. 1, emphasis added).


       Bryan Shawn Smith (“Smith”), Defendant, by and through his undersigned

counsel, submits that the government’s “notice” constitutes a withdrawal and
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dismissal of the Superseding Indictment’s very-serious § 111(b) charge, and

respectfully moves that this Court to dismiss the new Section 111(b) (aggravated

assault on a federal officer with bodily injury) count against Smith.

      Were this indictment to proceed in present form (with Count 2 explicitly

recorded as a § 111(b) charge but with a “notice” that the United States won’t

“proceed” with the charge), it would present serious problems for Mr. Smith. For

example, if Mr. Smith were convicted at trial on Count 2 (for assault or resistance

by physical contact with an officer), his conviction would be recorded as a 111(b)

conviction. Mr. Smith would then be subject to mandatory step-back detention;

and Mr. Smith would be ineligible for the First Step Act. Mr. Smith would also be

subject to higher security status if sentenced to a term in prison. Additionally,

there would be general confusion among BOP case managers, probation officials,

and others who read Mr. Smith’s PSR and/or other records.

      Moreover, Counsel does not believe these structural problems can be fixed

by limiting instructions to a jury (or court).

      Furthermore, the United States’ notice that it will not proceed with its bodily

injury claim, but “will pursue the lesser offense of 18 U.S.C. § 111(a)(1) and 2”

leaves a great deal of confusion. The government’s statement of offense and

representations during the government’s “reverse proffer” session in 2023
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indicated the government’s “assault” by physical contact involve a toy stun gun

type device that allegedly briefly passed through Smith’s hands on January 6—

then through the hands of several others—before the stun gun allegedly made

“physical contact” with some (never precisely named) officer.

        So is the government proceeding with a theory that the same (previously

represented as being injured but now conceded to have suffered no injury) officer

was assaulted or resisted by Smith? Or is the government now proceeding with a

theory that Smith assaulted or opposed another person?

                                            BACKGROUND

        Defendant is charged in Count 2 of the superseding indictment with

assaulting a federal officer causing bodily injury by handing a toy buzzer “stun

gun” to another person—who apparently allegedly handed it to another person, and

so on, until some end user1 allegedly “tazed” or buzzed an officer with the device,

causing “bodily injury.” (Defendant has seen no medical records and doesn’t even

know the identity of the injured officer; let alone the chain of custody of the buzzer

device.) 2




1
  Upon information and belief the end user “assailant” alleged by the United States was Vitali GossJankowski,
whom Smith did not know. GossJankowski was tried in a separate case for assaulting the officer with the “stun
gun” toy or device. A jury fully acquitted GossJankowski of the charge on March 16, 2023
2
  At a pretrial conference on Wednesday, April 3
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      The allegation of “assaulting an officer causing bodily injury” in the

superseding, indictment is an imaginative extension of aiding-and-abetting theory,

in that Smith is accused of merely passing a toy object to another (whom Smith did

not even know or recognize) who, in turn, later passed the object to yet another

person who committed an alleged “assault” (which a jury found did not happen as

a matter of fact) with the harmless toy.

    THE GOVERNMENT’S IMAGINARY AIDING-AND-ABETTING
   THEORY OF “ASSAULTING AN OFFICER” BY PASSING A TOY
 TAZER/BUZZER DEVICE TO A STRANGER VIOLATES EVERY TEST
            OF AIDING-AND-ABETTING THEORY.
      The Superseding indictment fails to lay out both adequate mens rea and

actus reas to sustain aiding and abetting culpability for crimes committed by

another.

      The new superseding indictment alleges, in Count 2, that Smith assaulted a

federal officer causing bodily injury under 18 U.S.C. § 111(b). However the Count

relies on a theory of aiding and abetting that is two steps removed. The theory is so

attenuated that it does not pass muster under the due process clause.

   a) Elements of Aiding and Abetting

      A charge of aiding and abetting has three requirements. First, someone else

must have committed a crime. Second, the defendant must have assisted that

person in the commission of the crime. Third, the defendant must have had
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knowledge of that person’s criminal intent or criminal plans. In this case, the

superceding indictment fails to properly allege any of the three elements.

      As a matter of law, an act of passing a tool, or a weapon, to another, is

insufficient by itself to invoke criminal liability for the passer regarding the

passee’s later use of the tool or weapon. See, e.g., United States v. Silwo, 620 F.3d

630 (6th Cir. 2010) (although defendant was instrumental in procuring a van that

was later used to transport marijuana, this evidence did not suffice to support a

conviction for conspiracy or aiding and abetting possession with intent to distribute

marijuana). This is especially true where, as here, there is no suggestion that Smith

knew the passee.

      The Supreme Court addressed this issue in Rosemond v. United States, 572

U.S. 65 (2014), where the Court overturned the conviction of a participant in a

drug deal for the violent murder that ultimately occurred during the drug deal. In

closing argument in Rosemond’s trial, the prosecutor contended that Rosemond

was “still guilty of the crime” on aiding-and-abetting theory, even if Rosemond

had not “fired the gun.” Id., at 158. After all, the prosecutor stated, Rosemond

“certainly knew [of] and actively participated in” the drug transaction. Ibid. “And

with regards to the other element,” the prosecutor urged, “the fact is a person

cannot be present and active at a drug deal when shots are fired and not know their

cohort is using a gun. You simply can’t do it.” Ibid.
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      The Supreme Court, with Justice Kagan writing, however, ruled that the

bottom (if not uncomplicated) line is that a criminal helper must have

“foreknowledge” of all the elements of the crime he is charged with — and this

further means he must have knowledge sufficiently in advance to have some

“realistic opportunity to quit the crime.”

   b) Count 2 lacks both the knowledge element and the foreseeability

      element required for aiding and abetting the commission of assault with

      a deadly and dangerous weapon.

      Merely providing a tool later used by a stranger in a crime, such as a weapon

or a vehicle, does not constitute aiding and abetting in the person’s crime. See

United States v. Silwo, 620 F.3d 630 (6th Cir. 2010) (although defendant was

instrumental in procuring a van that was later used to transport marijuana, this

evidence did not suffice to support a conviction for conspiracy or aiding and

abetting possession with intent to distribute marijuana).

      Moreover, even if Smith knew the unknown end user was “engaged in

criminal activity at the time (hardly suggested by the evidence), such knowledge

does not suffice to implicate Smith in aiding and abetting another person’s crime.

See United States v. Perez-Melendez, 599 F.3d 31 (1st Cir. 2010) (while the

evidence supported the conclusion that the defendant was aware that he was aiding
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and abetting the commission of criminal activity, the evidence did not establish

beyond a reasonable doubt that Perez-Melendez knew the criminal activity he was

aiding was a cocaine transaction); Laird v. Horn, 414 F.3d 419 (3rd Cir. 2005)

(aiding & abetting murder conviction overturned because ehe accomplice liability

jury instruction did not clearly inform the jury that in order to be found guilty of

aiding and abetting murder in the first degree (as opposed to being the actual

killer), the defendant must have the intent to kill, not just the intent to engage in

criminal activity that resulted in an accomplice killing the victim).

   c) HIGHER STATE OF MIND IS REQUIRED

      United States v. Gardner, 488 F.3d 700 (6th Cir. 2007) (Though intuition

might lead one to conclude that to be prosecuted as an aider and abettor, the

defendant is not required to have as much of a culpable state of mind as the

principal, in certain situations, just the opposite is true). Juan H. v. Allen, 408 F.3d

1262 (9th Cir. 2005) (aiding and abetting first degree murder was not supported by

sufficient evidence where defendant was present at the scene but there was

insufficient proof that he was aware that the principal would commit the murders

of the victims. The defendant may have had a motive, and may have fled after the

murders, but neither motive, nor flight is sufficient to prove that the defendant

aided and abetted the murders.
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   d) SMITH COULD NOT KNOW ABOUT A TRANSACTION TWO
      STEPS REMOVED
      No rational jury could find beyond a reasonable doubt that Defendant smith

knew of a future transaction or conduct that would be two steps removed. See

Stokes v. Lokken, 644 F.2d 779 (8th Cir. 1981) (upholding summary judgment in

case alleging negligent misrepresentation and aiding and abetting violations of

federal and state securities laws where there was no privity and the violations were

two steps removed) (overruled on other grounds). See also United States v.

Spinney, 65 F.3d 231 (1st Cir. 1995) (provider of weapon NOT liable in bank

robbery case; the government must prove that the defendant had at least

constructive knowledge that a gun would be used violently – that is, that it is likely

that a gun would be used. For §924(c) aiding and abetting liability, however, the

government must establish that the defendant knew “to a practical certainty that the

principal would be using a gun.” Akerman v. Oryx Communication, Inc., 609

F.Supp. 363, 373 (S.D. N.Y. 1984) (a “plaintiff, at minimum, must show some

meaningful participation in” the ultimate crime) (citations omitted).

                                  CONCLUSION
   Under the Sixth Amendment, and the Fifth Amendment right of due process, a
criminal charge must be dismissed unless a defendant is notified about basic
features of the allegation; such as:
   1) The identity of the officer allegedly assaulted
   2) The chain of custody regarding the alleged assault,
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   3) The basic facts of the allegation, including time, date, people, place, and
      manner of the allegation.
   For all the above stated reasons, Count 2 of the superseding indictment must be
dismissed. The Defendant moves for dismissal of Count 2 of the superseding
indictment.
Date: April 12, 2024                                                      Respectfully Submitted,

                                                                               /s/ John M. Pierce
                                                                                   John M. Pierce
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, April 12, 2024, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.


                                                                /s/ John M. Pierce
                                                                John M. Pierce
